Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 1 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 2 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 3 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 4 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 5 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 6 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 7 of 8
Case 4:18-bk-11413-BMW   Doc 46 Filed 05/27/19 Entered 05/27/19 14:05:31   Desc
                         Main Document    Page 8 of 8
